               MEDICAL RECORDS                   Fax:708-938-7179                      Feb 13 2008   14:24          P.02
              Case: 1:06-cv-03110 Document #: 84-2 Filed: 02/21/08 Page 1 of 1 PageID #:262
  FEB-13-2008     12:23P FROM:                                                               TO: 171389387179




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                      My 01fieilll title I) Keeper      of Records

                      I certify that each of the records anached hen:to is the original or duplic.:lte ot the original records




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              (or from information tranSmitlt:u hy) a person with knowledge: nfthosc marter5;

                      13)     such records wcrt: kept in the course of a regularly conducLt:d OUC;tnc:.:.
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                      C)      the bU~In":""uctivit)' made::such records a:. u rc:~uJarpractice.

                      U)      if :.uch record is nut the original. such record ISa duplicate of the onglnal.




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